










COURT OF 
APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH

NO. 
2-03-0368-CV
&nbsp;
&nbsp;
MICHAEL 
TRENT SHANKS &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
&nbsp; 
&nbsp; 
V.
&nbsp;&nbsp;
JOY 
HARVEY (SHANKS) KEMP&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEE
----------
&nbsp;
FROM 
THE 211TH DISTRICT COURT OF DENTON COUNTY
&nbsp;
----------
&nbsp;
MEMORANDUM OPINION1 AND JUDGMENT
------------
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On 
March 5, 2004 and March 30, 2004, we notified appellant, in accordance with rule 
of appellate procedure 42.3(c), that we would dismiss this appeal unless the 
$125 filing fee was paid.&nbsp; See Tex. R. App. P. 42.3(c).&nbsp; 
Appellant has not paid the $125 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because 
appellant has failed to comply with a requirement of the rules of appellate 
procedure and the Texas Supreme Court's order of July 21, 1998,2 
we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 
43.2(f).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant 
shall pay all costs of this appeal, for which let execution issue.&nbsp; See 
Tex. R. App. P. 42.1(d).
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp;
&nbsp;
&nbsp;PANEL D: 
HOLMAN, GARDNER, and WALKER, JJ.&nbsp;
&nbsp;
DELIVERED: 
April 29, 2004


NOTES
1.&nbsp; 
See Tex. R. App. P. 
47.4.
2.&nbsp; 
July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme 
Court and the Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).



